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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA
                    VS                                             CASE NO. 1:02-CR-43-03 MMP
    DEMETRIUS G. KENNEDY

                              FINANCIAL REFERRAL AND ORDER

Regarding release of funds for: X Fine,        Restitution,     Filing Fee,     Attorney Admission Fee,
   Copy Fee,     Bond,      Other (Specify)

By:      Demetrius G. Kennedy #20159-017                       (Payee)
Address: FCI Talladega
         PO Box 1000
         Talladega, AL 35160

Receipt Number 802-111690-29 & 802-111941-03               Date of Receipt    8/11/06 & 9/13/06

Motion: N/A

Explanation: A review of the payment records for Mr. Kennedy indicates an overpayment of $25.00.
According to the court dockets and financial records, Mr. Kennedy does not owe any additional money
and should be reimbursed $25.00.

WILLIAM M. McCOOL, Clerk of Court

Prepared by: ___s/Philip Detweiler___________
             Philip Detweiler, Financial Specialist               Date: September 14, 2006

Referred by:                               ,Deputy Clerk

                                         ORDER OF COURT

It is ORDERED this 15th           day of September         , 2006, that the Clerk refund the identified
funds to the payee.



                                                       s/Maurice M. Paul
                                                      MAURICE M. PAUL, SENIOR
                                                      UNITED STATES DISTRICT JUDGE


Adopted: 12/03/99
